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                         IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

    IN RE:                                                 §
                                                           § CASE NO. 24-10652
    SOUTHWESTERN MATTRESS                                  §
    SALES, INC.,                                           §
                                                           §
    Debtor.                                                §   Chapter 11 (Subchapter V)
                                                           §


      FIRST INTERIM ORDER GRANTING DEBTOR’S MOTION FOR INTERIM
    AUTHORITY TO USE CASH COLLATERAL AND GRANTING RELATED RELIEF

          Upon the motion (the “Motion”)1 of the above-captioned debtor and debtor-in-possession

(the “Debtor”) for the entry of an order (this “Interim Order”) authorizing the interim use of

Cash Collateral; and the Court having jurisdiction over this matter pursuant to 28 U.S.C. § 1334;

and the Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and



1
      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Motion.



INTERIM ORDER AUTHORIZING USE OF CASH COLLATERAL                                                             PAGE 1
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the Court having found that it may enter a final order consistent with Article III of the United

States Constitution; and the Court having found that venue of this proceeding and the Motion in

this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the

Debtor’s notice of the Motion and opportunity for a hearing on the Motion were appropriate under

the circumstances for the interim relief requested; and the Court having found that the relief

requested in the Motion is in the best interests of the Debtor’s estate, its creditors, and other

parties-in-interest; and the Court having determined that the legal and factual bases set forth in the

Motion and at the Hearing establish just cause for the relief granted herein; and upon all of the

proceedings had before this Court; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      The Debtor is authorized to use Cash Collateral in which any alleged secured

creditors may have an interest, in accordance with the Budget attached to this Interim Order as

Exhibit 1.

       3.      Any creditor with an alleged security interest in the Debtor’s Cash Collateral as of

the Petition Date is granted a Replacement Lien pursuant to section 361(2) of the Bankruptcy

Code, solely to the extent the Cash Collateral is used, in all cash or cash collateral the Debtor

acquires or generates after the Petition Date, but solely to the same extent and priority as existed

pre-petition and subject to a determination by the Court that any applicable creditor held a valid,

fully perfected, enforceable, pre-petition lien on Cash Collateral as of the Petition Date (such

creditors holding a valid, fully perfected, and enforceable pre-petition lien on Cash Collateral, the

“Secured Creditors”).




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         4.    The Replacement Liens will not attach to Bankruptcy Code Chapter 5 causes of

action of the Debtor or the proceeds of the recovery upon such actions.

         5.    The Replacement Liens will not apply to any reduction in cash value caused from

the payment of an expense that is later surcharged against any creditor’s collateral based on

Bankruptcy Code section 506(c).

         6.    Subject to the limiting conditions on the Replacement Liens, the Replacement Liens

shall be binding upon any subsequently appointed Chapter 11 or Chapter 7 trustee.

         7.    The Debtor is authorized: (i) to exceed any line item on the Budget by an amount

equal to ten percent (10%) of each such line item; or (ii) to exceed any line item by more than ten

percent (10%) so long as the total of all amounts in excess of all line items for the Budget do not

exceed ten percent (10%) in the aggregate of the total Budget.

         8.    The Debtor may not amend or modify the terms and conditions of its use of the

Cash Collateral, or amend, modify, roll-forward, or replace the Budget absent further order of this

Court.

         9.    The Secured Creditors are hereby granted an administrative claim with a priority

equivalent to a claim under Bankruptcy Code sections 503(b), and 507(b), on a dollar-for-dollar

basis for and solely to the extent of any diminution in value of the Cash Collateral, which

administrative claim shall, among other things, have priority over all other costs and expenses,

except for reasonable compensation of the Debtor’s professionals approved by order of the Court.

         10.   This Interim Order is not and shall not be construed as determinative as to whether

or not any Secured Creditor has a valid lien on any property of the Debtor or its estate and is not and

shall not be construed as determinative as to the extent, priority, or amount of any secured claim

associated with such lien.




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        11.     This Interim Order is without prejudice to the Debtor or any other party’s right to

challenge the extent, validity, or priority of any lien or claim of any alleged Secured Creditor, and

it is likewise without prejudice to the right of any such Secured Creditor to seek additional

adequate protection or other relief concerning cash collateral by subsequent motion or relief from

the automatic stay.

        12.     The Debtor shall not pledge, grant, or permit a security interest superior to that of

Secured Creditors in any pre-petition collateral or the collateral subject to the security interests or

liens granted herein, unless ordered by the Court.

        13.     Any provisions in any final order on the use of Cash Collateral shall not affect any

of the interim protections afforded to the Secured Creditors in this Interim Order.

        14.     Except as expressly amended hereby, this Interim Order shall not affect any of the

loan documents between the Debtor and any Secured Creditor, which loan documents shall remain

in full force and effect.

        15.     The parties reserve all rights that may be available to them under the Bankruptcy

Code, the laws of any state and equity. Nothing herein shall be construed to constitute a waiver or

release of any right, whether known or unknown.

        16.     The protections provided herein to the Secured Creditors are hereby deemed, on an

interim basis, to constitute adequate protection of such Secured Creditors’ interests in the Cash

Collateral.

        17.     Any amendment, modification, supplement or waiver of any provision in this

Interim Order shall be in writing and must be approved by the Court on appropriate notice by the

Debtor.




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        18.     The authorization for use of Cash Collateral under this Interim Order shall be in

effect from and after June 12, 2024 subject to being renewed or extended by order of the Court

after notice and hearing.

        19.     The relief granted in this Interim Order is without prejudice to the rights of parties

in interest at a final hearing.

        20.     A final hearing on this matter shall be held on ___________________, 2024 at

_______ prevailing Central time. The deadline to object to the entry of a Final Order on the Motion

is ____________________, 2024. The Debtor shall submit a proposed Final Order and proposed

final budget, under a notice of coversheet by ____________________, 2024.

        21.     The Debtor shall serve this Interim Order on all parties required under Bankruptcy

Rule 4001(d)(1)(C) and file a certificate of service with the Court.

        22.     This Court retains exclusive jurisdiction with respect to all matters arising from or

related to the implementation, interpretation, and enforcement of this Interim Order.

                                   # # # END OF ORDER # # #




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Prepared and submitted by:

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PROPOSED COUNSEL FOR DEBTOR
AND DEBTOR IN POSSESSION




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                                   EXHIBIT 1

                                    BUDGET
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Southwest Mattress Sales, Inc. dba Factory Mattress
13 Week Cash Flow Forecast

13 Week Cash Flow                                           Forecast         Forecast        Forecast         Forecast        Forecast         Forecast        Forecast        Forecast         Forecast         Forecast         Forecast        Forecast         Forecast
Week                                                            1                2               3                4               5                6               7               8                9               10               11              12               13
Week Ending                                                 06/07/24         06/14/24        06/21/24         06/28/24        07/05/24         07/12/24        07/19/24        07/26/24         08/02/24         08/09/24         08/16/24        08/23/24         08/30/24          Total

Beginning Cash                                          $     642,660    $     447,934   $     667,897    $     538,359   $     598,939    $     553,306   $     801,383   $     866,987    $     837,979    $     226,161    $      86,288   $     133,182    $      92,362    $    642,660
Plus:
  Cash Receipts from Operations                                39,244          229,963         337,193          497,392         440,831          302,205         322,999         320,226          193,344          203,387          194,599         246,074          418,074        3,745,532
Total Cash Receipts                                            39,244          229,963         337,193          497,392         440,831          302,205         322,999         320,226          193,344          203,387          194,599         246,074          418,074        3,745,532
Less:
  Payroll (Payroll tax included)                                  -                -           140,812              -           110,812              -           110,812             -            110,812              -            110,812             -            110,812          694,872
  503(b)9 Vendor Payments                                      78,080              -            87,247           47,245             -              2,092          97,046          87,587          140,577           56,367              -               -                -            596,241
  Rent                                                         14,179              -               -                -           267,875              -               -               -            267,875              -                -               -            267,875          817,803
  Operating Expenses                                            1,387              -            16,256           16,256           8,879            8,879           8,879           8,879            6,179            6,179            6,179           6,179            6,179          100,311
  Advertising                                                  96,578              -           159,000            4,500          33,015            4,500           4,500           4,500          104,068            4,500            4,500           4,500            4,500          428,661
  Store Operating Costs (COGS)                                  1,705              -            53,415           53,415          28,657           28,657          28,657          28,657           18,715           18,715           18,715          18,715           18,715          316,738
  Legal Other                                                     800              -               -                -               940              -               -               -                940              -                -               -                -              2,680
  Employee Benefits                                                 80             -               -                -            19,237              -               -               -             19,237              -                -               -                -             38,554
  Customer Refund                                                 132              -               -                -             3,059              -               -               -              3,059              -                -               -                -              6,250
  1099 Delivery                                                   -             10,000          10,000           10,000          10,000           10,000           7,500           7,500            7,500            7,500            7,500           7,500           10,000          105,000
  Property Insurance                                              -                -               -             12,111             -                -               -            12,111              -                -                -               -             12,111           36,333
  Inventory Vendor Payments - Post Petition Purchases             -                -               -                -               -                -               -           200,000          125,000          250,000              -           250,000              -            825,000
  Vendor Credit CoOp                                              -                -               -                -           (41,011)             -               -               -            (43,800)             -                -               -            (48,085)        (132,896)
  503(b)9 Vendor Pmts. (Inventory Rec'd not Invoiced)             -                -               -            293,285             -                -               -               -                -                -                -               -                -            293,285
Total Cash Disbursements                                      192,941           10,000         466,731          436,813         441,464           54,128         257,395         349,235          760,162          343,261          147,706         286,894          382,106        4,128,833
Operating Cash Increase (Decrease)                           (153,696)         219,963        (129,538)          60,579            (632)         248,077          65,604         (29,008)        (566,818)        (139,873)          46,894         (40,820)          35,968         (383,301)
  Professional Expenses                                        41,030              -               -                -            45,000              -               -               -             45,000              -                -               -             45,000          176,030
Total Period Cash Increase (Decrease)                        (194,726)         219,963        (129,538)          60,579         (45,632)         248,077          65,604         (29,008)        (611,818)        (139,873)          46,894         (40,820)          (9,032)        (559,331)

Ending Cash                                             $     447,934    $     667,897   $     538,359    $     598,939   $     553,306    $     801,383   $     866,987   $     837,979    $     226,161    $      86,288    $     133,182   $      92,362    $      83,330    $     83,330
